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 4
     Attorney for Defendant,
 5
     LOUIS RICARDO ARRIOLA.
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 9
                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                  )   No. CR 08-00683-ODW
                                                )
12
                           Plaintiff,           )
                                                )   EX PARTE APPLICATION TO AMEND
13
                    vs.                         )   THE JUDGMENT AND COMMITMENT
14                                              )   ORDER; DECLARATION OF STANLEY
     LOUIS RICARDO ARRIOLA,                     )   I. GREENBERG; [PROPOSED] ORDER
15
                                                )
16                     Defendant.               )
     _____________________________________      )
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             This is to request that the Court direct the Clerk to prepare an Amended
20
     Judgment and Commitment Order to include a recommendation that Mr. Arriola be
21
     allowed to participate in the Bureau of Prison’s drug abuse program, if found eligible.
22

23   As the Court may recall, Mr. Arriola has an extensive history of chemical abuse, which

24   is thoroughly documented in paragraphs 77-83 of the Pre-Sentence report prepared by
25
     the Probation Department.
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     ///
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     ///
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 1         This Application is based upon this document and the attached Declaration of
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     Stanley I. Greenberg.
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 4

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 6
                                               Respectively Submitted,

 7
      DATED: November 5, 2009                  STANLEY I. GREENBERG, ESQ.
 8                                             A Law Corporation
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10
                                         By    /S/
11                                             Stanley I. Greenberg
                                               Attorney for Defendant,
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                                               LOUIS RICARDO ARRIOLA
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 1                         DECLARATION OF STANLEY I. GREENBERG
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 3
           I, Stanley I. Greenberg, declare and state the following:
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           1.     I am counsel for defendant Louis Arriola in the above-referenced matter.
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 6
           2.     Due to oversight by undersigned counsel, I failed to ask the Court at the

 7   sentencing hearing to include a recommendation in the Judgment and Commitment

 8   Order that Mr. Arriola be allowed to participate, if found eligible, in the Bureau of
 9
     Prison’s drug abuse program (commonly abbreviated as RDAP).
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           3.     As the Court may recall, Mr. Arrioloa has an extensive history of chemical
11
     abuse, which is thoroughly documented in paragraphs 77-83 of the Pre-Sentence
12

13   Report prepared by the Probation Department.

14         4.     I believe that Mr. Arriola will likely be found to be eligible, and will likely

15   benefit from participation in such a program in anticipation of his re-entry to society.
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           5.     I discussed this matter by telephone and email with AUSA Rosella Oliver
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     on November 4 and 5, 2009. AUSA Oliver authorized me to advise the Court that she
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     had no objection to the filing of this Application; nor did she object to the relief
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20   requested.

21         I declare under the penalty of perjury that the foregoing is true and correct.
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           Executed at Los Angeles, California, on November, 4, 2009.
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                                             _________________________________________
25                                           STANLEY I. GREENBERG, ESQ.
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